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                          No. 23-60234
               _______________________________________

      IN THE UNITED STATES COURT OF APPEALS
               FOR THE FIFTH CIRCUIT
            _______________________________________

                           SIERRA CLUB

                               PETITIONERS

                                    V.

  LOUISIANA DEPARTMENT OF ENVIRONMENTAL QUALITY;
ROGER W. GINGLES, IN HIS OFFICIAL CAPACITY AS SECRETARY, LOUISIANA
            DEPARTMENT OF ENVIRONMENTAL QUALITY

                             RESPONDENTS
            _______________________________________
   ON PETITION FOR REVIEW OF ORDERS OF THE LOUISIANA DEPARTMENT
                     OF ENVIRONMENTAL QUALITY
            _______________________________________

    BRIEF OF INTERVENOR COMMONWEALTH LNG, LLC
          _______________________________________

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                 CERTIFICATE OF INTERESTED PERSONS

      In accordance with Federal Rule of Appellate Procedure 26.1 and Fifth Cir-

cuit Rule 28.2.1, the undersigned counsel of record certifies that the following

listed persons and entities have an interest in the outcome of this case. These rep-

resentations are made in order that the judges of this Court may evaluate possible

disqualification or recusal.

      1. Sierra Club, Petitioner, represented by:

                    Thomas Gosselin
                    Joshua D. Smith
                    Louisa Eberle
                    Sierra Club

      2. Louisiana Department of Environmental Quality, Respondent, repre-

          sented by:

                    Jeff Landry
                    Elizabeth Baker Murrill
                    Shae McPhee
                    Office of the Louisiana Attorney General

      3. Roger Gingles, in his official capacity as Secretary, Louisiana De-

          partment of Environmental Quality, Respondent, represented by:

                    Courtney Burdette
                    Jill Carter Clark
                    Ashley Plunkett
                    Louisiana Department of Environmental Quality




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4. Commonwealth LNG, LLC, permittee and proposed Respondent-

  Intervenor, represented by:

           Beth Petronio
           Ankur Tohan
           K&L Gates LLP

  Commonwealth LNG, LLC is a Texas limited liability company that is a

  wholly-owned subsidiary of Commonwealth Projects, LLC, which is

  wholly-owned by a private individual, Paul Varello.



                                /s/ Beth Bivans Petronio
                                Beth Bivans Petronio




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             STATEMENT REGARDING ORAL ARGUMENT

      Given that the applicable standard of review requires substantial deference

to the Louisiana Department of Environmental Quality’s exercise of discretion in

connection with the issuance of an air quality permit, Commonwealth LNG, LLC

does not believe that oral argument is required. If the Court does schedule this

matter for oral argument, Commonwealth LNG, LLC would like the opportunity to

present argument.




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                         JURISDICTIONAL STATEMENT

      Pursuant to Section 717r(d)(1) of the Natural Gas Act (“NGA”), this Court

has “exclusive” jurisdiction to review Sierra Club’s Petition for Review of the

permit LDEQ issued to Commonwealth LNG, LLC (“Commonwealth”) pursuant

to the Clean Air Act (“CAA”). 15 U.S.C. § 717r(d)(1); 42 U.S.C. §§ 7401 et seq.;

see also Town of Weymouth v. Mass. Dep’t of Env’t Prot., 961 F.3d 34, 40–42 (1st

Cir.), on reh’g, 973 F.3d 143 (1st Cir. 2020); see also Tex. Comm’n on Env’t Qual-

ity v. Vecinos Para El Bienestar De La Comunidad Costera, No. 03-21-00395-CV,

2023 WL 4670340, at *2 (Tex. App.—Corpus Christi, July 21, 2023) (“[T]he NGA

provides that exclusive jurisdiction for review of certain TCEQ decisions lies in

the United States Fifth Circuit.”). As detailed further below, LDEQ’s assertion to

the contrary is wrong.




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                          STATEMENT OF ISSUES

1.   Does this Court have jurisdiction to hear this appeal based on Congress’ ex-

     press delegation to federal circuit courts of “exclusive” authority to hear nat-

     ural gas permit appeals pursuant to Section 717r(d)(1) of the NGA?

2.   Did the Louisiana Department of Environmental Quality (“LDEQ”) act arbi-

     trarily or contrary to law when:

     a.    Consistent with the EPA’s Significant Impact Level (“SILs”) guid-

           ance, LDEQ concluded that Commonwealth’s preliminary air emis-

           sions screening, which showed that certain emissions were insignifi-

           cant, sufficiently demonstrated that those emissions will not cause or

           contribute to air pollution in excess of National Ambient Air Quality

           Standards (“NAAQS”)?

     b.    LDEQ determined that any modeled NO2 NAAQS violation was

           “likely never to occur” and that Commonwealth’s modeled contribu-

           tions did not cause or contribute to the unlikely 1-hour NO2 NAAQS

           violation?

     c.    LDEQ relied on AP-42 emissions factors to project Commonwealth’s

           emissions?




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3.    Was it arbitrary for LDEQ to determine that Commonwealth’s combustion

      turbines and oxidation systems are the “best available control technology?”

4.    Did LDEQ’s extensive analysis of the IT Questions articulated in La. R.S.

      30:2018.B satisfy the public trust doctrine established by the Louisiana Con-

      stitution?

5.    What remedy, if any, should the Court provide to Sierra Club?

                            STANDARD OF REVIEW

      “Federal courts reviewing state agency action afford the agencies the defer-

ence they would receive under state law.” Twp. of Bordentown, New Jersey v. Fed.

Energy Regul. Comm’n, 903 F.3d 234, 270 (3d Cir. 2018). The judicial review

provisions of the Louisiana Administrative Procedure Act (“LAPA”) govern ac-

tions for judicial review of LDEQ permitting decisions. La. R.S. 30:2050.21; Save

Our Hills v. La. Dept. of Env’t Quality, 266 So. 3d 916, 927 (La. App. 2018).

      Pursuant to Section 49:978.1(G) of the LAPA, a court may affirm the deci-

sion of the agency or remand the case for further proceedings. The court may re-

verse or modify an agency decision if substantial rights of the appellant have been

prejudiced because the administrative findings, inferences, conclusions, or deci-

sions are: (1) in violation of constitutional or statutory provisions; (2) in excess of

the statutory authority of the agency; (3) made upon unlawful procedure; (4) af-

fected by other error of law; (5) arbitrary and capricious or characterized by abuse


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of discretion or clearly unwarranted exercise of discretion; or (6) not supported or

sustainable by a preponderance of the evidence as determined by the reviewing

court. La. R.S. 49:978.1(G); see also Save Our Hills, 266 So. 3d at 927. Under

La. R.S. 49:978.1(G)(5), the court uses the arbitrary and capricious test to review

the agency’s conclusions and exercises of discretion. Save Ourselves, Inc. v. La.

Environ. Con. Comm’n, 452 So. 2d 1152, 1159 (La. 1984).1 The test for determin-

ing whether an action is arbitrary or capricious is whether the action taken was

“without reason.” Save Our Hills, 266 So. 3d at 927, citing Dow Chemical Co. La.

Operations Complex Cellulose and Light Hydrocarbons Plants, Part 70 Air Permit

Major Modifications and Emission v. Reduction Credits, 885 So. 2d 5, 10 (La.

App. 2004).

       The Louisiana Supreme Court has emphasized that the arbitrary and capri-

cious test poses a “significant limitation” on judicial review. Save Our Hills, 266

So. 3d at 934. Thus:

       [i]f the evidence as reasonably interpreted supports the determination
       of the administrative agency, its orders will be accorded great weight
       and will not be reversed or modified in the absence of a clear showing
       that the administrative action is arbitrary and capricious. The test for
       determining whether the action is arbitrary and capricious is “whether
       the action taken is reasonable under the circumstances.” Stated dif-
1
       Louisiana’s “arbitrary and capricious” standard of review is akin to the “arbitrary and ca-
pricious” standard of review that this Court applies frequently in cases arising under the federal
Administrative Procedure Act, 5 U.S.C. §§ 701 et seq. That standard is highly deferential and
narrow, looking only at whether the agency considered the relevant factors and not permitting
the court to substitute its judgment for that of the agency. See, e.g., La. Env’tl Soc’y, Inc. v.
Dole, 707 F.2d 116, 118-19 (5th Cir. 1983).

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      ferently, the question is whether the action taken was “without rea-
      son.”

      Id. As long as the agency’s decision was reached procedurally with individ-

ualized consideration and balancing of environmental factors conducted fairly and

in good faith, that decision is not subject to reversal as a substantive matter unless

it was made “without reason.” Id. at 927.

      The standard of review is the same with respect to the Louisiana public trust

doctrine. “The constitution does not establish environmental protection as an ex-

clusive goal, but requires a balancing process in which environmental costs and

benefits must be given full and careful consideration along with economic, social,

and other factors.” Save Ourselves, 452 So. 2d at 1157. As stated by the Louisi-

ana Supreme Court:

      The environmental protection framework vests in the [LDEQ] a lati-
      tude of discretion to determine the substantive results in each particu-
      lar case. Environmental amenities will often be in conflict with eco-
      nomic and social considerations. To consider the former along with
      the latter must involve a balancing process. In some instances en-
      vironmental costs may outweigh economic and social benefits and
      in other instances they may not. This leaves room for a responsi-
      ble exercise of discretion and may not require particular substantive
      results in particular problematic instances.

      ***

      In light of the structure and aims of the public trust doctrine and the
      environmental act, and the breadth of authority delegated to the
      [LDEQ], the judicial review function encounters significant limita-
      tions in the substantive aspects where the given statutory standards are
      “arbitrary”, “capricious” or “abuse of discretion”. It is elementary

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      that a court’s function is not to weigh de novo the available evi-
      dence and to substitute its judgment for that of the agency.

      Id. at 1157-59 (emphasis added).

      Thus, this Court should defer to the reasoned determinations of LDEQ on

technical and highly specialized issues that are within LDEQ’s unique expertise.

                           STATEMENT OF FACTS

A.    Commonwealth’s Cameron Parish Project

      Commonwealth is a liquefied natural gas (“LNG”) development company

focused on LNG export projects. Commonwealth is developing an LNG export

facility located at 500 Gulf Beach Highway in Cameron Parish, Louisiana.

AR2:15; AR69:3; AR70:2. The project is located on the west side of the Calcasieu

Ship Channel at its entrance to the Gulf of Mexico. AR2:15; AR69:3; AR70:2.

Commonwealth’s project is expected to be a leader in the next wave of LNG de-

velopment projects and is estimated to include a multi-billion dollar private in-

vestment in Cameron Parish and the surrounding area.

B.    The NGA Governs Commonwealth’s Project

      In 2005, Congress passed the Energy Policy Act of 2005 (the “Energy Policy

Act”), which amended the NGA, 15 U.S.C. §§ 717-717w, to clarify and streamline




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the regulatory process for the approval of LNG import and export projects.2 The

NGA, as amended, gives the Federal Energy Regulatory Commission (“FERC”)

exclusive jurisdiction over the siting, construction, expansion or operation of LNG

import and export facilities pursuant to Section 3. 42 U.S.C. § 7172(a)(1)(D); 15

U.S.C. §§ 717b(a), 717b(e)(1).

       An entity seeking to construct an LNG terminal must obtain authorization

from FERC to do so. See 15 U.S.C. § 717f(c). As required by the NGA and the

National Environmental Policy Act of 1969 (“NEPA”), FERC conducts a lengthy,

detailed review of the environmental, engineering, safety, and economic elements

of the proposed project. 15 U.S.C. § 717b-1(a); 42 U.S.C. §§ 4321 et seq. NEPA

mandates that, before FERC authorizes an LNG terminal like the one at issue here,

FERC must issue a detailed and robust draft environmental impact statement, pro-

vide an opportunity for public comment and review, and issue a final environmen-

tal impact statement (“FEIS”). See 40 C.F.R. §§ 1502.1 et seq. After a FEIS is is-

sued, FERC can then issue a formal order authorizing the project.




2
         “Streamlined permitting processes and NEPA reviews are provided [by the Energy Policy
Act] for the siting of liquefied natural gas (LNG) facilities and conventional natural gas storage
facilities.” MARK HOLT & CAROL GLOVER, CONG. RESEARCH SERV., RL33302, ENERGY POLICY
ACT OF 2005: SUMMARY AND ANALYSIS OF ENACTED PROVISIONS 20. See also Jacob Dweck,
David Wochner & Michael Brooks, Liquefied Natural Gas (LNG) Litigation After the Energy
Policy Act of 2005: State Powers in LNG Terminal Siting, 27 ENERGY L.J. 473, 474 (2006)
(“The [Energy Policy Act] amended the Natural Gas Act of 1938 (NGA) to streamline the pro-
cess for approving natural gas projects…”).

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      In addition, Commonwealth is required to obtain various federal, state and

local authorizations, including air quality permits required by the CAA. 42 U.S.C.

§§ 7401 et seq. The CAA “establishes a comprehensive program for controlling

and improving the nation’s air quality through state and federal regulation.” BCCA

Appeal Grp. v. U.S. E.P.A., 355 F.3d 817, 821-22 (5th Cir. 2003). The CAA al-

lows the Environmental Protection Agency (“EPA”) to establish maximum permis-

sible concentrations of air pollutants in the ambient air and to promulgate National

Ambient Air Quality Standards (“NAAQS”). 42 U.S.C. §§ 7408-09. The CAA

also establishes a framework permitting the EPA to delegate authority to issue fed-

erally required air quality permits to various state permitting authorities, including

LDEQ. 42 U.S.C. § 7407.

      The States are required to submit to the EPA “a plan designed to implement

and maintain [NAAQS] standards within its boundaries,” and the EPA is “required

to approve each State’s plan.” Train v. Nat. Res. Def. Council, Inc., 421 U.S. 60,

65 (1975) (discussing Section 101 of the CAA, 42 U.S.C. § 7410). These plans are

referred to as “State Implementation Plans” or “SIPs.” Luminant Generation Co.

v. E.P.A., 675 F.3d 917, 921 (5th Cir. 2012). Louisiana’s SIP has been approved

by EPA. See 40 C.F.R. 52.970(c) (identifying EPA-approved regulations in Loui-

siana’s SIP); LAC 33:III.509.




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       Every State’s SIP “must include permitting programs for the construction or

modification” of “major” sources of air pollution. Luminant Generation Co., 675

F.3d at 922. Major pollution sources may be subject to preconstruction Prevention

of Significant Deterioration (“PSD”) permitting requirements. See LAC 33:III.509

(listing requirements). The PSD requirements, enacted by Congress in 1977, “are

designed to ensure that the air quality in attainment areas or areas that are already

‘clean’ will not degrade.” Alaska Dep’t of Env’t Conservation v. E.P.A., 540 U.S.

461, 470 (2004). LDEQ’s EPA-approved SIP includes the PSD permitting pro-

gram for the State of Louisiana. LAC 33:III.507, 509.

C.     Commonwealth’s Application to FERC and FERC Authorization

       On August 20, 2019, Commonwealth filed its formal application for approv-

al from FERC pursuant to Sections 3(a) of the NGA. 15 U.S.C. § 717b(a); AR85.

On September 9, 2022, FERC issued a FEIS, which included a robust and exten-

sive analysis of the potential environmental impacts of the project. AR90:1-707.3

FERC’s FEIS included extensive review and analysis of NAAQS. AR90:4-201-

32. Independent from LDEQ’s review, FERC concluded that the “operation of the

facility would not cause or make a significant contribution to any violation of ei-

3
       There is an error in the Index of Documents Comprising the Record (Doc. 47, p. 5). The
FEIS is listed as AR81, but a review of the actual record documents has the FEIS at AR90.
AR81 is actually the Final Environmental Assessment for Air Products and Chemicals, Inc. Re-
covery Act: Demonstration of CO2 Capture and Sequestration of Steam Methane Reforming Pro-
cess Gas Used for Large Scale Hydrogen Production, June 2011 by the U.S. Department of En-
ergy, which is mistakenly listed on the Index as AR90. References to AR90 in this Brief are to
the FEIS issued by FERC.

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ther the NAAQS or existing PSD increments.” AR90:4-232. FERC issued a final

order approving the project on November 17, 2022. AR82:1-90.

D.    LDEQ’s Review of the Permit Application

      On April 23, 2021, Commonwealth applied to LDEQ for an air quality per-

mit under the CAA. AR2:4–367. LDEQ spent approximately two years engaged

in a careful review of the permit application. LDEQ is required to conduct a thor-

ough technical review of the application. LAC 33:III.519.B; LAC 33:I:1505.

LDEQ is able to request, and did request here, additional information in writing to

evaluate the application. LAC 33:III.519.B; see, e.g., AR2-AR12 (various corre-

spondence between Commonwealth and LDEQ). LDEQ also published notice re-

questing public comment on the proposed permit and held a public hearing.

AR13-16; AR14-AR16; AR17:68-103. LDEQ requested and received extensive

public comments. See generally AR19-AR38; AR43-AR46; AR51-67. As re-

quired by the CAA, LDEQ submitted the draft permit to the EPA and the EPA did

not object.

E.    LDEQ Issues the Permit

      On March 2023, LDEQ issued Part 70 Operating Permit No. 0560-00997-

V0 and Prevention of Significant Deterioration Permit No. PSD-LA-841 (AR70-1-

46 (collectively, the “Permit”). LDEQ issued a basis for decision document that

included a 29-page detailed discussion of its analysis and reasoning and a 162-page


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“Public Comments Response Summary” that addressed the issues raised in public

comments (collectively, the “Basis for Decision”). AR71:1-191.

                         SUMMARY OF ARGUMENT

      Pursuant to Section 717r(d)(1) of the NGA, this Court has “exclusive” juris-

diction to review Sierra Club’s Petition for Review of the permit LDEQ issued to

Commonwealth pursuant to the Clean Air Act (“CAA”). 15 U.S.C. § 717r(d)(1);

42 U.S.C. §§ 7401 et seq.; see also Town of Weymouth, 961 F.3d at 40–42. Con-

trary to LDEQ’s suggestion, when LDEQ issued the Permit it was acting pursuant

to the CAA and Louisiana’s EPA-approved SIP, which has the force and effect of

federal law. Further, the NGA, as amended by the Energy Policy Act, provides

that “[t]he United States Court of Appeals for the circuit in which the facility…is

proposed to be constructed, expanded or operated, shall have original and exclu-

sive jurisdiction over any civil action for the review of an order or action of

a…State administrative agency acting pursuant to Federal law to issue…any per-

mit…required under Federal law.” 15 U.S.C. § 717r(d)(1). In passing this provi-

sion, Congress expressly intended to streamline the review of state-issued permits

required under federal law, including the CAA, for the construction, expansion or

operation of natural gas facilities. Every court to have considered this issue has

agreed the under the unique circumstances of the NGA, federal circuit courts have

exclusive jurisdiction to review state-issued CAA permits.


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      On the merits, this Court should afford LDEQ’s reasoned determinations on

the highly specialized and technical aspects of the Permit substantial deference and

should not substitute the Court’s judgments for that of LDEQ. LDEQ’s Basis of

Decision was thorough and directly addressed each of the issues raised by Sierra

Club in detail. LDEQ’s decision making was reasonable and sound on each of the

issues now raised in Sierra Club’s Brief.

      First, LDEQ’s use of SILs to evaluate whether emissions cause or contribute

to a violation of NAAQS was proper and in accord with EPA guidance. Indeed,

the EPA has recommended the use of SILs for decades and views SILs as a

“streamlined means of making the air quality impact demonstration required by

Section 165(a)(3)” of the CAA. AR91:13. Consistent with EPA and LDEQ guid-

ance, Commonwealth conducted extensive air dispersion modeling and, with the

exception of 1-hour NO2, no pollutant showed any exceedance of NAAQS. For

those pollutants that did not exceed SILs, it was proper for Commonwealth and

LDEQ to conclude that no further air quality analysis was required and that these

pollutants would not cause or contribute to NAAQS exceedances.

      With regard to 1-hour NO2, Commonwealth performed an additional air

quality analyses, including a source contribution analysis to determine “whether

the proposed source will cause or contribute to the violation by comparing the pro-

posed source’s modeled contribution to that violation to the corresponding SIL



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value.” AR71:13. That analysis revealed the Commonwealth’s maximum contri-

bution to 1-hour NO2 NAAQS was below the SIL. Based on this result, it was

proper for LDEQ to determine that Commonwealth’s project would not cause or

contribute to a violation of the 1-hour NO2 NAAQS.

      It was also proper for LDEQ to approve of Commonwealth’s use of AP-42

emissions factors. Here, use of the AP-42 emissions factors was reasonable and

appropriate because this is a preconstruction permit and direct, site-specific emis-

sions information is not available. In such circumstances, LDEQ and the EPA rec-

ognize that the “default emissions factors” in AP-42 are an appropriate and reason-

able method to estimate emissions. AR71:118.

      Second, LDEQ’s careful and thorough analysis of whether Commonwealth’s

proposed facility employs the best available control technology for its combustion

turbines and oxidation systems should not be disturbed by this Court. LDEQ con-

sidered each of these technologies in detail against the backdrop of the very same

arguments Sierra Club presents here. LDEQ’s Basis for Decision includes detailed

explanations for why the technologies employed by Commonwealth do represent

the best available control technology. This Court must show substantial deference

to LDEQ’s judgment regarding these technologies and should not disturb LDEQ’s

decisions on these issues.




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      Third, LDEQ thoroughly and carefully considered the issues identified as

relevant to the consideration of the public trust doctrine in the Louisiana Constitu-

tion as implemented by the Louisiana Legislature in the Environmental Quality

Act. According to the Louisiana Supreme Court, the public trust doctrine applies a

“rule of reasonableness” that requires an agency to consider the balance “environ-

mental costs and benefits…along with economic, social and other factors” and

“vests in [LDEQ] a latitude of discretion to determine the substantive results in

each particular case.” Save Ourselves, 452 So. 2d at 1157. Here, LDEQ undertook

that requisite balancing and, in the exercise of its discretion, reasonably concluded

that the Permit should be issued. LDEQ’s analysis is entitled to deference from

this Court.

                                  ARGUMENT

A.    The Court Has Exclusive Jurisdiction over this Appeal Pursuant to the
      Natural Gas Act

      The unique circumstance of a federal circuit court directly reviewing an en-

vironmental permit issued by a Louisiana State agency is brought about by the in-

terplay of the NGA, as amended by the Energy Policy Act, the CAA, and the Loui-

siana SIP, as incorporated into federal law. As noted, the NGA is a “comprehen-

sive scheme of federal regulation” that vests the FERC with “exclusive jurisdiction

over the transportation and sale of natural gas in interstate commerce for resale,”



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and evidences Congress’s intent “to occupy [the] field to the exclusion of state

law.” Schneidewind v. ANR Pipeline Co., 485 U.S. 293, 300–01 (1988); see also

Dominion Transmission, Inc. v. Summers, 723 F.3d 238, 243 (D.C. Cir. 2013),

judgment entered, 529 Fed. Appx. 3 (D.C. Cir. 2013). When Congress passed the

Energy Policy Act, it extended the reach of the NGA to the siting, construction,

expansion, and operation of LNG terminals. 15 U.S.C. § 717b(e)(1). Importantly,

the NGA “strips states of any authority to regulate” natural gas facilities governed

by the NGA except for state actions taken under three statutes specifically refer-

enced in the NGA: the Coastal Zone Management Act, the CAA, and the Clean

Water Act. Delaware Riverkeeper Network v. Sec. Penn. Dep’t of Env’t Prot., 833

F.3d 360, 376 (3d Cir. 2016) (addressing interstate natural gas transmission facili-

ties); see also Islander East Pipeline Co. v. Conn. Dep’t of Env’t Prot., 482 F.3d

79 (2d Cir. 2006) (addressing an interstate natural gas pipeline); 15 U.S.C. §

717b(d). Consistent with this doctrine, “a state participates in [CAA] regulation of

interstate natural gas facilities by congressional permission, rather than through in-

herent state authority.” Delaware Riverkeeper, 833 F.3d at 376.

      The CAA “establishes a comprehensive program for controlling and improv-

ing the nation’s air quality through state and federal regulation.” BCCA Appeal

Grp. 355 F.3d at 821–22. It does so through “[a]n experiment in cooperative fed-

eralism” that assigns responsibility to both the EPA and the states. Luminant Gen-



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eration Co., 675 F.3d at 921 (quoting Michigan v. E.P.A., 268 F.3d 1075, 1083

(D.C. Cir. 2001)). The EPA “formulat[es] national ambient air quality standards,”

whereas the states bear the “primary responsibility” for implementing those stand-

ards. Util. Air Regulatory Grp. v. E.P.A., 573 U.S. 302, 308 (2014).

      “Every state must formulate and administer a State Implementation Plan

(SIP), which outlines the state’s pollution control strategy for achieving NAAQS.”

Texas v. U.S. E.P.A., 690 F.3d 670, 674 (5th Cir. 2012) (citing 42 U.S.C. §

7410(a)(1)). SIPs must include “enforceable emission limitations and other control

measures, means, or techniques” to meet NAAQS and must include a scheme for

preconstruction permits. 42 U.S.C. § 7410(a)(2)(A); 40 C.F.R. § 51.160; Texas,

690 F.3d at 674.

      The EPA must review the SIP to ensure compliance with the CAA and pro-

vide public notice and an opportunity to comment regarding the SIP. 42 U.S.C. §

7410(a)(2); see also Texas, 690 F.3d at 676. To be approved by the EPA, a SIP

must include an air quality permit program for the “construction of any stationary

source within the areas covered by the plan as necessary to assure that [NAAQS]

are achieved.” 42 U.S.C. § 7410(a)(2)(C).

      Once the EPA approves a particular state’s SIP, it can then “delegate to such

State any authority…to implement and enforce such standards.” 42 U.S.C. §

7411(c). When states like Louisiana conduct the required review for CAA air



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permits under an approved SIP, they are implementing federal law under coopera-

tive federalism and they grant or deny air permits pursuant to federal law. Ammex,

Inc. v. Wenk, 936 F.3d 355, 361-62 (6th Cir. 2019). The fact that SIPs have the

force and effect of federal law has been recognized by every federal Circuit Court.

See id.; Utah Physicians for Healthy Env’t v. Diesel Power Gear, LLC, 21 F.4th

1229, 1237 (10th Cir. 2021) (“An approved SIP has the force and effect of federal

law”) (internal citations omitted); Env’t Texas Citizen Lobby, Inc. v. ExxonMobil

Corp., 968 F.3d 357 (5th Cir. 2020), as revised, (Aug. 3, 2020), and following re-

mand, 47 F.4th 408 (5th Cir. 2022), and reh'g en banc granted, vacated, 61 F.4th

1012 (5th Cir. 2023) (“when the EPA approves a SIP, it becomes federal law”);

Grp. Against Smog & Pollution, Inc. v. Shenango Inc., 810 F.3d 116, 120 (3d Cir.

2016) (“Once the EPA approves the SIP, it becomes binding federal law.”); Cali-

fornia Dump Truck Owners Ass’n v. Nichols, 784 F.3d 500, 505 n.6 (9th Cir. 2015)

(recognizing that the court had “consistently recognized that an approved SIP is

federal law”); Indiana v. E.P.A., 796 F.3d 803, 806 (7th Cir. 2015) (“Once it is ap-

proved by EPA, a state rule embodied in a SIP becomes enforceable federal law.”);

North Carolina v. Tenn. Valley Auth., 615 F.3d 291, 299 (4th Cir. 2010) (Once a

SIP is approved, “its requirements become federal law and are fully enforceable in

federal court”); Sierra Club v. U.S. E.P.A., 496 F.3d 1182, 1186 (11th Cir. 2007)

(Georgia SIP “has the force and effect of federal law and may be enforce by the



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EPA in federal courts.”) (internal quotations and citations omitted); Nat. Min.

Ass’n v. U.S. E.P.A., 59 F.3d 1351, 1363 (D.C. Cir. 1995) (“Once included within

the SIP” state law becomes enforceable under federal law); U.S. v. General Motors

Corp., 876 F.2d 1060, 1063 (1st Cir. 1989) (“Once an original or revised SIP is

approved by the EPA, it becomes federal law”); Council of Commuter Orgs. v.

Metro. Transp. Auth., 683 F.2d 663, 669 (2d Cir. 1982) (“New York’s SIP [was]

enforceable as applicable federal law”); Union Elec. Co. v. E.P.A., 515 F.2d 206,

211 (8th Cir.1975), aff’d, 427 U.S. 246 (1976) (Georgia SIP “ha[s] the force and

effect of federal law and may be enforced by the [EPA] in federal courts.”). When

LDEQ issued the Permit here, it was acting pursuant to the CAA and Louisiana’s

SIP, which is enforceable as federal law.

      Further, the NGA, as amended by the Energy Policy Act, provides that

“[t]he United States Court of Appeals for the circuit in which the facility…is pro-

posed to be constructed, expanded, or operated shall have original and exclusive

jurisdiction over any civil action for the review of an order or action of a…State

administrative agency acting pursuant to Federal law to issue, condition, or deny

any permit…required under Federal law.” 15 U.S.C. § 717r(d)(1). The legislative

history of the Energy Policy Act suggests that “the purpose of the [jurisdiction]

provision is to streamline the review of state decisions taken under federally-

delegated authority.” Delaware Riverkeeper, 833 F.3d at 372. Review of a permit



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required by the CAA and the NGA is review of a “State administrative agency act-

ing pursuant to Federal law.” Town of Weymouth, 961 F.3d at 40–41; see also Tex.

Comm’n on Env’t Quality, 2023 WL 4670340, at *3 (“TCEQ was acting pursuant

to federal law because it issued the new-source review permit consistent with Tex-

as’s SIP and as required by the [CAA].”) (citing Env’t Integrity Project v. U.S.

E.P.A., 969 F.3d 529, 535 (5th Cir. 2020)).

      Every case to have considered this issue has found that federal circuit court

jurisdiction exists. Town of Weymouth, 961 F.3d at 40–41; Tex. Comm’n on Env’t

Quality, 2023 WL 4670340, at *3; see also Friends of Buckingham v. State Air

Pollution Control Bd., 947 F.3d 68 (4th Cir. 2020) (stating that the Fourth Circuit

“possess[es] jurisdiction pursuant to the Natural Gas Act” to review a Virginia

state air permit issued pursuant to NGA and CAA).

      In Town of Weymouth, for example, the First Circuit noted the EPA had ap-

proved the Massachusetts SIP “under the federal CAA” and that that EPA had

“delegated authority” to the Massachusetts DEP to administer the federal CAA in

Massachusetts. 961 F.3d 40, n. 2. The First Circuit acknowledged the “coopera-

tive federalism” approach and found that “this also provides the federal ‘ingredi-

ent’ for purposes of Article III jurisdiction.” Id. at 40, n.4 (quoting Osborn v. Bank

of U.S., 22 U.S. (9 Wheat.) 738, 823 (1824) (“[W]hen a question to which the judi-

cial power of the Union is extended by the Constitution, forms an ingredient of the



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original cause, it is in the power of Congress to give the Circuit Courts jurisdiction

of that cause, although other questions of fact or of law may be involved in it.”).

      In addition, various courts have considered this issue in the context of the

Clean Water Act. Delaware Riverkeeper, 833 F.3d 360; Sierra Club v. State Water

Control Bd., 64 F.4th 187, 195 (4th Cir. 2023). In Delaware Riverkeeper, the

Third Circuit reviewed a Pennsylvania state agency approval pursuant to the Clean

Water Act. Although the Clean Water Act is not administered through SIPs, the

court recognized that “[a] state issues a Water Quality Certification for an inter-

state natural gas facility to certify compliance with state water quality standards,

promulgated under federal supervision, as well as with federally-established Clean

Water Act Requirements.” Id. at 371. In fact, the court noted that “a Water Quali-

ty Certification is not merely required by federal law: it cannot exist without feder-

al law, and is an integral element in the regulatory scheme established by the Clean

Water Act.” Id. (emphasis in original). The court went on the note that “Congress

intended state actions taken pursuant to…the Clean Water Act and the Clean Air

Act, to be subject to review by the Courts of Appeals” and that “[t]o bar this

Court’s review…would frustrate the purpose of Congress’s grant of jurisdiction.”

Id. at 372. The court further addressed the concern about reviewing “state agency

action” in federal court by noting that:

      [the states’] participation in the regulatory scheme of the Clean Water
      Act with respect to interstate natural gas facilities, pursuant to the

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      Natural Gas Act and after the amendment of Section [717r(d)] consti-
      tutes a waiver of their immunity from suits brought under the Natural
      Gas Act. In effect, Section [717r(d)] creates a small carve out from
      sovereign immunity. Under this limited carve out, federal judicial re-
      view is proper over those state actions regarding interstate natural gas
      facilities pursuant to the Clean Water Act and the Clean Air Act.

Id. at 377.

      In Sierra Club v. State Water Control Board, the Fourth Circuit agreed with

the Third Circuit that the NGA “empowers [federal circuit courts] to hear any civil

action seeking review of federal permits required by [the NGA].” 64 F.4th at 195.

The court concluded that Virginia’s Department of Environmental Quality was

“acting pursuant to the authority granted to it through the CWA when it issued

the…Permit” and, accordingly, the court had “jurisdiction to hear this case pursu-

ant to 15 U.S.C. § 717r(d)(1).” Id. The court further noted that Section 717r(d)

“put the Agencies on notice that any action they took relative to the issuance, con-

ditioning, or denial of a water quality certification would be subject to federal judi-

cial review.” Id. at 196. The same is true for LDEQ and the CAA.

      LDEQ mistakenly relies on three things to suggest that this Court lacks ju-

risdiction. First, LDEQ asserts that the “SIP isn’t actually federal law.” LDEQ

Brief, p. 21 (emphasis in original). LDEQ, however, ignores the extensive authori-

ty holding to the contrary and relies on one concurrence in the Sixth Circuit that

suggests the SIP remains part of “state law that states officials enforce.” Ammex,

936 F.3d at 363 (Bush, J. concurring); LDEQ Brief, p. 21. Even if that were true

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and the SIP and the CAA were somehow considered to be “parallel” state and fed-

eral laws, as Judge Bush suggests, there can be no dispute that the Permit is, in

fact, issued pursuant to the CAA and a federally-approved and adopted SIP with

the intention and purpose of ensuring that Commonwealth complies with federally-

promulgated NAAQS and CAA requirements. See, e.g., Env’t Integrity Project,

969 F.3d at 535 (explaining the purpose and implementation of the CAA via SIPs);

Texas, 690 F.3d at 677 (same). In issuing this Permit, LDEQ was unquestionably

acting pursuant to federal law.

      Second, LDEQ builds on its “state law” argument by suggesting that be-

cause this is a “state law” permit, the claim asserted here is a “state law” claim.

LDEQ Brief, pp. 23-24. Again, LDEQ relies on one concurring opinion to suggest

that federal courts cannot rule on state law causes of action. Brief, p. 24 (quoting

Shrimpers and Fishermen of RGV v. Tx. Comm. Of Env’t Quality, 968 F.3d 419,

428 (5th Cir. 2020) (Oldham, J., concurring)).

      As noted, however, this Permit was required by the CAA and the NGA. The

CAA federally mandates judicial review of state permit decisions. A permitting

program must provide “an opportunity for judicial review in State court of the final

permit action by the applicant, any person who participated in the public comment

process, and any other person who could obtain judicial review of that action under

applicable law.” 42 U.S.C. 7661a(b)(6). The EPA’s regulations likewise require



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states to provide an opportunity for judicial review of a final permit by the appli-

cant, any person who participated in the process or any other person who could ob-

tain judicial review of such actions under state law. 40 C.F.R. § 70.4(b)(3)(x).

      Thus, the “cause of action” to challenge a CAA permit arises from the issu-

ance of a permit under the CAA and EPA-approved SIP and the federal require-

ment that states afford an appeal right for such permits. In most circumstances, the

appeal would be to the state court of appeal. As noted, however, as it relates spe-

cifically to natural gas facilities governed by the NGA, Congress expressly intend-

ed that the appeal of a CAA permit be “exclusively” in the federal circuit courts.

15 U.S.C. § 717r(d)(1). Thus, in all respects, Sierra Club’s ability to challenge the

Permit here arose as a result of federal law and is a federally-mandated cause of

action.

      Even if this were a state claim, as LDEQ readily acknowledges, “federal ju-

risdiction over a state law claim will lie if a federal issue is: (1) necessarily raised,

(2) actually disputed, (3) substantial, and (4) capable of resolution in federal court

without disrupting the federal-state balance approved by Congress.” LDEQ Brief,

p. 24 (citing Gunn v. Minton, 568 U.S. 251, 258 (2013)). LDEQ suggests that this

test does not apply because no federal issue was “necessarily raised” because the

decision was pursuant to state law. This argument is not only circular, it is wrong.

Instead, each of the four Gunn factors weighs in favor of finding federal jurisdic-



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tion here. The Permit was issued pursuant to the CAA, and this appeal specifically

raises issues related to Commonwealth’s compliance with NAAQS and other re-

quirements of the CAA and EPA regulations. Moreover, Congress’s intention re-

garding the “federal-state balance” was made clear in the NGA when it gave the

federal circuit courts “exclusive jurisdiction” over state permits issued pursuant to

federal law.

      Finally, LDEQ’s suggestion that the long-standing practice of “cooperative

federalism” employed by the CAA and the federally approved SIPs is a violation

of Article II of the Constitution is also without support. First, despite having been

the subject of countless appeals, no case has held that the manner in which the

CAA is implemented through state SIPs is a violation of Article II. Second,

LDEQ’s reliance on Nat’l Horsemen’s Benevolent & Protective Ass’n v. Black, 53

F.4d 869, 872 (5th Cir. 2022) is entirely misplaced. That case involved a delega-

tion of power to a private entity, not a system of “cooperative federalism” adopted

by Congress. Third, LDEQ’s reliance on Judge Bush’s suggestion that the “EPA

appears to have no power to direct a state in how to carry out the enforcement of its

SIP” (LDEQ Brief, p. 22), is also wrong. Contrary to Judge Bush’s statement, the

EPA has significant authority over how a State enforces its SIP. The EPA not only

approves the SIPs, but each permit must be submitted to the EPA for review to en-

sure it complies with federal requirements. 42 U.S.C. §§ 7475(d) and 7661d(a)(1).



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And, the EPA continues to exercise comprehensive oversight authority, including

authority to disapprove or recall SIPs it finds inconsistent with the CAA, 42 U.S.C.

§ 7410(k), and the ability to impose substantial statutory sanctions if the state fails

to comply with CAA requirements. See 42 U.S.C. § 7410(k)(5) and (m), and 7413.

      For all of these reasons, the Court should reject LDEQ’s assertion that the

Court lacks jurisdiction to adjudicate this appeal. This Court has “exclusive” juris-

diction pursuant to the NGA and should exercise that jurisdiction to affirm

LDEQ’s issuance of the Permit.

B.    LDEQ’s Use of Significant Impact Levels Was Proper

       (1)    Significant Impact Levels (“SILs”) Have Long Been Used by the
              EPA and LDEQ

      The goals of the CAA include both “protect[ing] public health and welfare”

and “insur[ing] that economic growth will occur in a manner consistent with the

preservation of existing clean air resources.” 42 U.S.C. § 7470(1), (3). Pursuant to

the CAA, the EPA establishes NAAQS, which are concentration levels of pollu-

tants in ambient air, “the attainment and maintenance of which” are “requisite to

protect the public health” with “an adequate margin of safety.” 42 U.S.C. §

7409(b)(1); see also, 40 C.F.R. § 50.2(b). Pursuant to the CAA, a state’s air quali-

ty implementation plan must contain measures necessary to prevent “significant

deterioration” of air quality in each region designated as attainment. 42 U.S.C. §

7471 (emphasis added). A proposed new facility must demonstrate that “emissions


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from construction or operation of such facility will not cause, or contribute to, air

pollution in excess” of NAAQS.                42 U.S.C. § 7475(a)(3); see also LAC

33:III.509.K.1.

        For decades, the EPA has included regulatory thresholds within its precon-

struction permitting program designed to help distinguish between sources that

may significantly impact air quality and those that will not. As early as 1978, the

EPA explained that § 7475(a)(3) did not require permitting authorities to address

impacts “below certain levels.” 43 Fed. Reg. 26,388, 26,398 (June 19, 1978); see

also Mem. From Richard G. Rhoads, Office of Air Quality Planning & Standards,

to Alexandria Smith, EPA Region X, “Interpretation of ‘Significant Contribution’”

(Dec.      6,    1980)    at     1,   https://www.epa.gov/sites/production/files/2015-

07/documents/reaffirm.pdf.        The EPA’s 1990 New Source Review Workshop

Manual (the “NSR Manual”) (October 1990) explained that the EPA “does not re-

quire a full impact analysis for a particular pollutant when emission of that pollu-

tant…would not increase ambient concentrations by more than prescribed signifi-

cant ambient impact levels.” AR93:C.24.

        The EPA has affirmed that “SILs have been used in the PSD permitting pro-

cess for many years to help permit applicants and permitting authorities to deter-

mine whether proposed construction may be authorized” by the CAA. EPA, Sig-

nificant        Impact     Levels       for        Ozone    and      Fine      Particles,



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https://www.epa.gov/nsr/significant-impact-levels-ozone-and-fine-particles.      The

EPA uses “SILs “to identify the degree of air quality impact that ‘causes, or con-

tributes to’ a violation of a NAAQS” and to serve as a “compliance demonstration

tool” that a proposed source will not have a significant or meaningful impact on air

quality. See AR75:5 (EPA Guidance on Significant Impact Levels for Ozone and

Fine Particles in the Prevention of Significant Deterioration Permitting Program, at

1 (April 17, 2018) (noting that the SIL values “have helped to reduce the burden on

permitting authorities and permit applicants to conduct often time-consuming and

resource-intensive air dispersion modeling where such modeling was unnecessary

to demonstrate that a permit applicant meets the requirements….”).

      SILs are specifically identified in 40 C.F.R. §51.165(b)(2) as appropriate

thresholds for determining if a “major source…will be considered to cause or con-

tribute to a violation of a national ambient air quality standard when such source or

modification would, at a minimum, exceed the…significance levels.” 40 C.F.R.

51.165(b)(2) (emphasis added); see also 52 Fed. Reg. 24,672, 24,713 (July 1,

1987) (codifying SIL values as part of the PSD permitting process by promulgating




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regulations governing minimum standards for permitting authorities); Sierra Club

v. E.P.A., 955 F.3d 56, 59 (D.C. Cir. 2020).4

       According to LDEQ and the EPA, “SILs do not function to exempt a source

from making the demonstration required by section 165(a)(3) of the [CAA].”

AR71:33. Rather, “these concentration levels provide a streamlined means of

making the air quality demonstration required by section 165(a)(3).” EPA’s Legal

Memorandum: Application of Significant Impact Levels in the Air Quality

Demonstration for Prevention of Significant Deterioration Permitting under the

Clean Air Act (the “Legal Memorandum”; AR91); see also AR71:33. The Legal

Memorandum further explains the justification for SILs as follows:

       A permitting authority has discretion to conclude that a proposed
       source does not cause or contribute to a violation if its predicted im-
       pact on air quality concentrations for the relevant pollutant is not
       meaningful or significant…Where SIL values developed by EPA are
       used to show that a source does not cause or contribute to a violation,
       this permit-specific record can incorporate the information and tech-
       nical analysis provided by the EPA to show that a source with a pro-
       jected impact below the relevant SIL value will not cause or contrib-
       ute to a violation of the NAAQS or PSD increment.

AR91:14; AR71:33.



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        In 2010, the EPA attempted to codify the use of SILs for certain pollutants. Sierra Club
challenged that attempt in the D.C. Circuit. For reasons not relevant here, the EPA asked the
D.C. Circuit to vacate the rule. 955 F. 3d at 59. Sierra Club asserted that the court should hold
that the EPA could not use SILs for the same “cause or contribute” argument that Sierra Club
makes here. The D.C. Circuit declined to invalidate SILs altogether and noted that on remand
the EPA could promulgate regulations the “include SILs” as long as they do not “evade the re-
quirements of the [CAA].” Id. at 464.

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      Thus, the EPA has long interpreted and applied the statutory phrase cause or

contribute to mean that a permitting agency may, in its discretion, conclude that a

facility’s emissions do not contribute to a NAAQS exceedance if the emissions at

the location of a modeled exceedance are below SILs. LDEQ has also interpreted

the phrase cause or contribute in a manner similar to the EPA, stating that it “uses

the SIL values recommended by EPA in implementing its PSD program, LAC

33:III.509.” AR71:34. Here specifically, LDEQ incorporated the Legal Memoran-

dum and various SILs guidance documents into its Basis for Decision. AR71:33-

34; AR91.

      In the Legal Memorandum, the EPA stated that:

      In order to give meaning to the “cause or contribute” language in sec-
      tion 165(a)(3) as calling for an exercise of judgment by the permitting
      authority, it is reasonable to conclude that Congress understood there
      would be a point at which a small projected air quality impact from a
      proposed new or modified source becomes so inconsequential that
      PSD permitting authorities may reasonably conclude that such an im-
      pact does not cause, or contribute to, an existing or projected violation
      of air quality standards.

AR91:8.

      LDEQ’s decision here to issue the Permit properly followed the extensive

and long-standing practice of employing SILs to determine whether the facility

will cause or contribute to violations of NAAQS.




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       (2)   Commonwealth Conducted a Thorough Air Quality Analysis
      Consistent with the EPA and LDEQ’s guidance, Commonwealth conducted

air dispersion modeling using the EPA-recommended “AERMOD” air quality

model. AR70:5; AR71-38; AR90:4-225. Based on the AERMOD results, Com-

monwealth performed a “significance analysis,” which “considers emissions only

associated with the Project and compares the modeled concentrations to corre-

sponding significant impact levels (SIL) to determine if any predicted concentra-

tions at any receptor locations would be ‘significant.’” AR90:4-225; see also AR

71:33; AR70:5. Based on the results of the significance analysis, Commonwealth

conducted an additional “full impact analysis” in connection with several specific

pollutants to further assess compliance with NAAQS.          AR70:35; AR71-33;

AR90:4-225-28.

      This additional analysis included modeling the project’s pollutant sources

together with background sources from off-site inventory within the area of impact

plus 15 km and all major sources within the area of impact plus 20 km. AR90:4-

228-29: AR10:20-21.     The full impact analysis showed an exceedance of the

NAAQS for a single pollutant: 1-hour NO2. AR90:4-228-29, 4-231; AR10:41-44.

In compliance with EPA and LDEQ protocols, Commonwealth then conducted a

“source contribution analysis” to determine whether the Project would contribute




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significantly to the exceedance of the 1-hour NO2 NAAQS.             AR90:4-390;

AR10:41.

      This “source contribution analysis” revealed that “the maximum contribu-

tion to any modeled exceedance of the 1-hour NO2 NAAQS is 0.07 µg/m3, which

is below the SIL of 7.5 µg/m3.” AR71:13, n.44.

       (3)    Sierra Club’s Challenges to LDEQ’s Use of SILs are Not War-
              ranted

      Sierra Club challenges LDEQ’s use of SILs in two ways. First, Sierra Club

challenges the use of SILs to conclude that further air quality analysis was not

needed for SO2, CO and PM10. Sierra Club Brief, pp. 27-33. Second, Sierra Club

argues that modeled concentrations for NO2 specifically exceeded NAAQS. Sierra

Club Brief, pp. 33-40.

             a)    LDEQ Properly Concluded Additional Air Quality Model-
                   ing was not necessary for certain pollutants that fell below
                   SILs

      Sierra Club first challenges Commonwealth and LDEQ’s use of SILs to con-

clude that it was not necessary to conduct further air quality analysis for SO2, CO

and PM10. Sierra Club Brief, pp. 27-33. Sierra Club does not contest that Com-

monwealth’s extensive air quality modeling did not identify any modeled exceed-

ances of the SIL values for these pollutants. See AR90:4-229. Instead, Sierra Club

argues that the SILs essentially create a de minimis exception to the CAA’s “cause

or contribute” language that results in automatic exemptions from the CAA’s re-


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quirements. Sierra Club Brief, p. 28. Basically, Sierra Club asks this Court to en-

tirely eliminate the long-standing use of SILs. This “nonzero” approach cannot be

sustained.

      First, as the EPA has explained in its guidance, the CAA “does not specify

how a permit applicant or permitting authority” must make the required demonstra-

tion. AR75:4. Instead, the plain language of the CAA “authorizes the EPA to de-

termine how the analysis is to be conducted, including the use of air quality mod-

els.” AR75:4. There is no dispute that Commonwealth followed the EPA guid-

ance in conducting its extensive and multi-step air modeling. Having done so, it

was proper for Commonwealth and LDEQ to conclude that emissions will not

cause or contribute to a violation of NAAQS.

      Second, Louisiana law is clear that an administrative agency’s interpretation

of a statute is “given substantial and often decisive weight” when the agency has,

over a long period of time, placed that interpretation upon the statute. See, e.g.,

Normand v. Wal-Mart.com USA, Inc., 340 So. 3d 615, 631 (La. 2020), (citing

Traigle v. PPG Indus., 332 So. 2d 777, 782 (La. 1976) (the “best guide to [the stat-

ute’s] meaning…is the accepted contemporaneous administrative construction giv-

en to the statute…by the agency charged with administering it.”). In such a case,

where the legislature has not amended the statute to alter the agency’s consistent,

longstanding interpretation, the agency’s interpretation may “reasonably be pre-



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sumed to be in accord with the legislative intent.” Traigle, 332 So. 2d at 782; see

also Sierra Club v. E.P.A., 939 F.3d 649, 680 (5th Cir. 2019) (“The EPA’s selec-

tion of modeling…is exactly the type of decision for which ‘significant deference’

is appropriate.”).

      Third, neither the CAA nor the corresponding LDEQ regulations define the

term “contribute.” Courts construing that term in other sections of the CAA have

found it to be ambiguous such that LDEQ and the EPA’s interpretation, if reasona-

ble, is entitled to deference. See, e.g., Catawba County v. E.P.A., 571 F.3d 20, 35,

38 (D.C. Cir. 2009); see also Env’t Def. Fund v. E.P.A., 82 F.3d 451, 459 (D.C.

Cir.), amended on other grounds by 92 F.3d 1209 (D.C. Cir. 1996) (noting that the

term contributes “leaves wide open the question of how large a reduction in emis-

sions must be to constitute a contribution.”); Talarico Bros. Building Corp. v. Un-

ion Carbide Corp., 73 F.4th 126, 142 (2d Cir. 2023) (observing that the term “con-

tribute” has a “capacious definition”).

      In Catawba County, the court addressed Section 107(d) of the CAA, which

requires the EPA to designate an area as nonattainment if it “contributes to ambient

air quality in a nearby area.” 571 F.3d at 35. The court noted that “the statute de-

fines neither ‘contributes’ nor ‘nearby’—words that we have expressly found am-

biguous as used in other sections of the Act.” Id. (citing Env’t Def. Fund, 82 F.3d

at 459). The Catawba County court further noted the existence of competing dic-



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tionary definitions of the term “contribute”—one that “supports the claim that the

adverb ‘significantly’ is implicit in the verb ‘contribute,’” and others that “define

‘contribute’ without reference to any threshold level of significance.” 571 F.3d at

38. Having found the term to be ambiguous, the court found that the EPA had the

discretion as to how to interpret and apply that term in the particular context be-

cause the term “suggest[s] a congressional intent to leave unanswered questions to

an agency’s discretion and expertise.” Id. at 35; see also Nat’l Cable & Tele-

comms. Ass’n v. Brand X Internet Servs., 545 U.S. 967, 980 (2005) (statutory am-

biguity amounts to a delegation to the agency “to fill the statutory gap in reasona-

ble fashion”); Texas v. E.P.A., 983 F.3d 826, 836 (5th Cir. 2020) (“Federal courts

accord great deference to the EPA’s construction of the Clean Air Act.”).

      Fourth, Sierra Club’s citation to various other sections of the CAA that use

the term “significant” in conjunction with “contribute” does nothing to advance its

argument. Simply noting a statutory term’s presence in one section and absence in

another “rarely if ever suffices [to provide] the direct answer that Chevron step one

requires” regarding the meaning of the plain text. Catawba Cnty., 571 F.3d at 36

(citing Chevron U.S.A. Inc. v. Nat. Res. Def. Council, 467 U.S. 837 (1984)). To

the contrary, as with other ambiguities, “a congressional mandate in one section

and silence in another often suggests not a prohibition but simply a decision not to

mandate any solution in the second context, i.e., to leave the question to agency



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discretion.” Id. Sierra Club’s reliance on Bluewater Network v. E.P.A., 370 F.3d 1

(D.C. Cir. 2004) is unavailing. In Bluewater, the court noted that the term “con-

tributes” did not necessarily require a finding of “significance.” The court did not,

however, suggest that the term “contributes” could not incorporate a significance

requirement in the proper context.

       Fifth, the exercise of LDEQ’s discretion to utilize SILs is reasonable and

consistent with the stated purposes of the PSD program. As noted, the goal of the

CAA is “to protect the public health and welfare from any actual or potential ad-

verse effect…from air pollution [and] to insure economic growth will occur in a

manner consistent with the preservation of existing clean air resources.’” Groce v.

Dept. of Env’t Prot., 921 A.2d 567, 577, n.16 (Pa. Commw. Ct. 2007) (quoting 42

U.S.C. § 7470(1) and (3), Congress’s “Statement of Purpose” regarding the PSD

program).5 In Groce, the court considered the same issue raised in the present mat-

ter, i.e., whether an environmental agency may use SILs in determining that a per-

mit applicant will not cause or contribute to a violation of the NAAQS. The court




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        The PSD requirements can be contrasted with the more stringent air quality requirements
applied to new source review programs for construction and modification in a nonattainment ar-
ea. Compare 42 U.S.C. §§ 7470 to 7479 with 42 U.S.C. §§ 7502(c)(5), 7503. New source re-
views under the PSD program require air quality modeling and use of BACT. 42 U.S.C. §§ 7470
to 7479. In contrast, new source reviews in nonattainment areas require sources to meet stricter
lowest achievable emissions rate standards and obtain “emissions offsets.” 42 U.S.C. §§
7502(c)(5), 7503. Sierra Club’s effort to vacate this Permit seeks to invoke strict standards with-
out recognizing the balance of the interest inherent in the PSD program required by the CAA.

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there relied heavily on the balance of interests inherent in the CAA to affirm the

use of SILs.

      In sum, LDEQ properly exercised its discretion in (i) approving Common-

wealth’s use of SILs in its air modeling and (ii) determining that emissions below

SILs would not cause or contribute to a NAAQS violation for SO2, CO and PM10.

               b)   LDEQ’s Use of SILs for NO2 Was Also Proper

      Sierra Club next asserts that “Commonwealth’s Air Quality Analysis reflects

gross exceedance of the NAAQS” and that it was improper for LDEQ to “disregard

a demonstrated NAAQS violation by relying on the SILs.” Sierra Club Brief, p.

36. LDEQ, however, did not “disregard” any exceedance of NAAQS. Instead, the

record reveals that Commonwealth and LDEQ followed EPA guidance and ana-

lyzed the NO2 emissions in great detail. There is no basis for this Court to disturb

that analysis.

      Sierra Club correctly points out that the results of Commonwealth’s initial

AERMOD modeling revealed NO2 emissions that exceeded SILs. AR10:39-40;

AR69:5; AR71:13. Based on this initial modeling, Commonwealth undertook a

cumulative “full impact analysis,” which modeled maximum impacts plus back-

ground stationary sources. AR10:39-41; AR69:6; AR90:4-229-31. This modeling

showed an exceedance of the NAAQS for 1-hour NO2.               AR10:41; AR69:6;

AR90:4-228-29, 4-231.



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      Sierra Club, however, ignores the fact that, in compliance with the EPA and

LDEQ protocols, Commonwealth conducted an additional “source contribution

analysis” to determine whether NO2 emissions from Commonwealth’s project

would contribute significantly to the exceedance of the 1-hour NO2 NAAQS.

AR10:41; AR90:4-390. According to the EPA,

      Where a cumulative impact analysis predicts a NAAQS violation the
      permitting authority may further evaluate whether the proposed
      source will cause or contribute to the violation by comparing the
      proposed source’s modeled contribution to that violation to the
      corresponding SIL value. If the modeled impact is below the rec-
      ommended SIL value at the violating receptor during the violation, the
      EPA believes this will be sufficient in most cases for a permitting au-
      thority to conclude that the source does not cause or contribute to (is
      not culpable for) the predicted violation. This demonstration would
      thus allow the permit to be issued if all other PSD requirements are
      satisfied.

AR71:13 (emphasis added) (quoting “Guidance on Significant Impact Levels for

Ozone and Fine Particles in the Prevention of Significant Deterioration Permitting

Program,” AR75:18).

      As noted, Commonwealth’s “source contribution analysis” showed that “the

maximum contribution to any modeled exceedance of the 1-hour NO2 NAAQS is

0.07 µg/m3, which is below the SIL of 7.5 µg/m3.” AR71-13, n.44. Based on this

result, LDEQ reasonably concluded that “the Commonwealth LNG Project will not

‘cause or contribute’ to a violation of the 1-hour NO2 NAAQS.” AR71:40.

      In addition to following the EPA guidance, LDEQ utilized its extensive ex-



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pertise to evaluate Commonwealth’s air modeling.        In its Basis for Decision,

LDEQ pointed out that it is “imperative to recognize that modeled exceedance of a

NAAQS do not necessarily equate to actual exceedances of a NAAQS.” AR71:40

(emphasis in original). Commonwealth’s modeling was designed to “derive max-

imum ground level concentrations for the 1-hour NO2 standard.” AR71:40. As

such, “Commonwealth LNG modeled the maximum permitted hourly rate of all

sources within the modeling domain, effectively assuming that every emissions

source emits at its maximum allowable rate continuously.” Id. The modeling thus

provides results that assume “worst-case emissions” from multiple sources, emit-

ting constantly and under the worst-case meteorological conditions. Id. This is a

circumstance, according to LDEQ, “that is improbable at best and, given the num-

ber of sources modeled likely never to occur.” AR71:40. Even using this “worst-

case emissions” modeling, the NO2 emissions from Commonwealth’s project are

well below the SIL. AR71-13, n.44. Only if “background” sources are included

do the values exceed the SIL. AR71:40. And, according to LDEQ, because “the

actual measured ambient concentrations used to represent background are in fact

representative and inclusive of contributions from the existing emission sources

included in the model,” the model is “‘double counting’ the effect of those existing

sources.” AR71:40-41.




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       Based on all of this information, LDEQ reasonably exercised its discretion

to conclude that Commonwealth’s 1-hour NO2 NAAQS did not exceed the SIL

and, as such, the Commonwealth’s project would not “cause or contribute” to an

exceedance of NAAQS. AR71:13.

              c)     LDEQ’s Reliance of AP-42 Factors Was Justified

       Sierra Club next contends that LDEQ’s reliance on SILs is further “under-

mined” by their reliance on AP-42 emissions factors. Sierra Club Brief, pp. 41-43.

Sierra Club points out that, in 2020, the EPA issued a guidance letter that warned

against using AP-42 emissions factors “in place of more representative source-

specific emissions value.” AR71:114; Sierra Club Brief, p. 41. Id. at 41. Under

these circumstances, as LDEQ pointed out in its Basis for Decision, it was entirely

appropriate to rely, in part, on AP-42. AR71-117-18: see also AR84 (AP-42 emis-

sions factors for industrial flares).

       As LDEQ pointed out in its Basis for Decision, Commonwealth’s emissions

calculations had to be prepared “prior to construction,” and therefore “cannot be

calculated using source-specific data.” AR71:118. As the EPA has recognized,

“[w]hen direct emission monitoring or site-specific emission factors are not availa-

ble, then default emission factors may be the only way to estimate emissions.”

AR71:118 (citing Emissions Estimation Protocol for Petroleum Refineries, Version

3,   April    2015     (p.    4-11)     (https://www.epa.gov/sites/default/files/2020-1



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1/documents/protocol_report_2015.pdf). For precisely this reason, the EPA devel-

oped the AP-42 emissions factors for various types of combustion sources, and the

EPA recommends that these factors be used as the “default emission factors” when

necessary. AR71:118. The use of AP-42 coupled with the existing information

Commonwealth had regarding the design and technology anticipated for this pro-

ject was entirely appropriate and certainly not an abuse of LDEQ’s discretion.

      Sierra Club next asserts that, to the extent LDEQ did rely on AP-42 factors,

it should have used the reported “maximum” emissions factor instead of the “aver-

age.” Sierra Club Brief at 43. According to Sierra Club, this difference could

“roughly triple” some projected emissions. Sierra Club Brief at 43. LDEQ con-

sidered this assertion in its Basis for Decision and, based on its extensive expertise,

reasonably concluded that the extreme ends of the ranges are not likely to be repre-

sentative of actual emissions. Instead, LDEQ concluded that “the use of average

emission factors is appropriate and reasonable.” AR71:107. The Court should de-

fer to LDEQ’s well-reasoned conclusions.

C.    LDEQ’s BACT Analysis Was Proper

      The CAA specifically requires LDEQ to determine that the proposed facility

will be outfitted with the best available control technology (“BACT”) for “each

pollutant subject to regulation.” 42 U.S.C. § 7475(a)(4); Alaska Dept. of Env’t

Conservation, 540 U.S. at 468. The BACT analysis is a discretionary and factual


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one undertaken by LDEQ “on a case-by-case basis, taking into account energy, en-

vironmental, and economic impacts and other costs.” 40 C.F.R. § 52.21(b)(12);

LAC 33:III.509.B. Performing and evaluating a BACT analysis requires extremely

specialized, technical expertise and knowledge. See, e.g., Zen-Noh Grain Corp. v.

Consol. Env’t Mgmt., Inc., No. CIV.A. 12-1011, 2012 WL 6201871, at *10 (E.D.

La. Dec. 12, 2012), amended on denial of reconsideration, No. CIV.A. 12-1011,

2013 WL 3947186 (E.D. La. July 31, 2013) (“State agencies such as the LDEQ

have the expertise, experience, and procedural mechanisms to conduct the air qual-

ity analyses and evaluations of proposed technologies that are required in making

permit determinations.”).

      The EPA has established a five-step approach for determining BACT. See

NSR Manual; AR93:B.5-B.6. The NSR Manual requires (1) the identification of

all control technologies; (2) the elimination of technically infeasible options; (3)

the ranking or remaining control technologies by control effectiveness; (4) the

evaluation of the most effective control and the documentation of results; and (5)

the selection of BACT. AR93:B.6.

      Sierra Club complains about two fact-intensive issues that were already ad-

dressed in depth by Commonwealth and LDEQ in their underlying BACT anal-

yses—combustion turbines and a catalytic oxidizer. Because LDEQ considered all

relevant factors and articulated reasons for its decisions regarding these specific



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technologies, this Court should not disturb LDEQ’s technical determinations with-

in its expertise. See Alaska Dep’t of Env’t Conservation, 540 U.S. at 489, 490 n.4

(explaining that, for the purposes of BACT, the EPA can disapprove a permit only

in “relatively rare” circumstances where “a state agency’s BACT determination is

not based on a reasoned analysis”); see also Maryland v. E.P.A., 958 F.3d 1185,

1196 (D.C. Cir. 2020) (courts “give an extreme degree of deference to [an agen-

cies’] evaluation of scientific data within its technical expertise.”).

        (1)   LDEQ Properly Analyzed BACT for Commonwealth’s combus-
              tion turbines

      Sierra Club first challenges LDEQ’s analysis regarding the most effective

technology to control NOx emissions from Commonwealth’s nine natural gas fired

combustion turbines. Sierra Club Brief, pp. 45-49. There is no dispute that, in an

effort to reduce NOx emissions from the combustion turbines, Commonwealth will

install a selective catalytic reduction (“SCR”) system paired with dry low NOx

burners. AR2:277; AR70:12; AR71:83. All parties agree that a SCR system paired

with dry low NOx burners is one of “the top-ranked and most effective technolo-

gies” to reduce emissions. AR2:276-78, 316; Sierra Club Brief, p. 46. But, Sierra

Club challenges the fact that LDEQ approved a numerical emission limit of 2.5

ppmvd instead of 2.0 ppmvd, claiming that other facilities have achieved 2.0

ppmvd by only “slightly” increasing the SCR’s effectiveness from 90% to 92%.

Sierra Club Brief, p. 46. Sierra Club claims that LDEQ set the limit of 2.5 ppmvd


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“without explanation” and “did not even attempt to justify or explain.” Sierra Club

Brief, pp. 46-47. In making this assertion, Sierra Club ignores the record and

LDEQ’s vast experience, knowledge and understanding of this specific technology.

      LDEQ expressly considered and rejected the very arguments Sierra Club

makes here during the permitting process, finding that “[i]t is not appropriate to es-

tablish a NOx emission limit for the Refrigeration Turbines and Generator Tur-

bines by applying a control efficiency of greater than 90 percent to NOx concentra-

tions at the inlet of the selective catalytic reduction (SCR) system.” AR71:80. Re-

lying on its extensive experience and detailed EPA guidance, LDEQ found that the

effectiveness of a SCR system is “dependent on many variables” and “[i]n prac-

tice…operates at efficiencies in the range of 70 percent to 90 percent.” AR71:81.

The EPA guidance further recognizes that even where a specific technology may

be capable of achieving a higher control efficiency, LDEQ “has discretion to base

the emissions limitation on a control efficiency that is somewhat lower than the op-

timal level. . .[in order to] allow the permittee to achieve compliance consistently.”

AR71:82, quoting In Re Newmont Nev. Energy Inv., LLC. TS Power Plant, PSD

Appeal No. 05-04, December 21, 2005 (EPA E.A.B.) (pp. 460-61).

      The EPA guidance thus permits LDEQ to exercise discretion to consider

how the efficiency of the technology might “fluctuate” over time and “whether the

emissions rate at issue has been achieved by other facilities over a long term.”



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AR71:82. Here, LDEQ reasoned that “if SCR systems were routinely and consist-

ently achieving NOx removal efficiencies greater than 90 percent…one would ex-

pect to see BACT determination of less than 1 ppmvd.” AR71:83. But, no such

emission limits have been reported to the EPA or cited by Sierra Club. Id.

      LDEQ also considered and addressed Sierra Club’s argument that various

other facilities had set emission limitations for NOx at 2.0 ppmvd. AR71:83. As

LDEQ noted, those facilities included combined cycle turbines located at electrical

generation facilities, not simple-cycle generator turbines configured for Common-

wealth’s LNG terminal. Id. Sierra Club claims this is a “distinction without a dif-

ference” (Sierra Club Brief, p. 48), but does not explain why this Court should

simply reject the well-reasoned determination from LDEQ that it is, in fact, an im-

portant technical distinction. According to LDEQ, Commonwealth’s turbines “will

employ exhaust heat recovery to heat oil for process use, but will not be equipped

with heat recovery steam generations” and will be configured to power compres-

sors, as opposed to generating electricity. AR71:83. LDEQ found these differ-

ences significant, and this Court should not disturb LDEQ’s sound exercise of its

expertise and discretion in coming to the conclusion that the emissions limit of 2.5

ppmvd is “appropriate and reasonable.” Id.

       (2)    LDEQ properly permitted the use of thermal oxidizers as BACT




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      Sierra Club next contends that LDEQ should have required Commonwealth

to consider a catalytic oxidizer instead of using thermal oxidizers to remove impu-

rities from the natural gas before liquefaction. Sierra Club Brief, pp. 49-52. Sierra

Club contends that Commonwealth failed to consider the catalytic oxidizer as an

alternative and claims that there is a “hole in the record” in this regard. Sierra Club

Brief, p. 50. But, both Commonwealth and LDEQ addressed the potential use of a

catalytic oxidizer and determined that it was not technically feasible. AR71:100.

      Sierra Club suggests that LDEQ failed to perform a proper analysis of the

technical feasibility because it did not include detailed cost estimates or quantify

the emissions impact. Sierra Club Brief, pp. 51-52. Commonwealth and LDEQ

did, in fact, perform a sufficient analysis to support the conclusion that the catalytic

oxidizer was not technically feasible.

      A control option is “technically infeasible” if, “based on physical, chemical,

and engineering principles,…technical difficulties would preclude the successful

use of the control option on the emissions unit under review.” AR93:B.7. Here,

LDEQ explained that a catalytic oxidizer was not technically feasible for various

highly scientific and technical reasons, including that it would require the addition

of (i) a scrubber to remove trace constituents; (ii) a system to manage the scrub-

ber’s waste stream; and (iii) a natural gas-fired heater to raise the temperature of

the acid gas streams. AR71:100. Commonwealth concluded—and LDEQ agreed



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based its expertise—that the required addition of these additional technologies

would “needlessly add complexity to the system, would increase capital and oper-

ating costs, and would be an additional source of air emissions.” This detailed and

highly specialized analysis was sufficient to eliminate the catalytic oxidizer as

technically infeasible. This Court need not substitute its judgment for that of

LDEQ in this regard.

      Sierra Club’s reliance on Town of Weymouth, 961 F.3d at 44-45 and In re

Pennsauken Cnty., N.C. , Res. Recovery Facility, 2 E.A.D. 667, 672 (Adm’r 1988)

for the suggestion that LDEQ was required to include more detailed cost estimates

or emissions information in its technical feasibility analysis is misplaced. The cost

calculations and information at issue in both of those cases were not related to step

2 of the BACT process where the technical feasibility of a control technology is

being considered. Instead, the information at issue there was required in connec-

tion with step 4 of the BACT process involving the valuation of the most effective

controls and a documentation of results. See Town of Weymouth, 961 F.3d at 44;

In re Pennsauken Cnty., 2 E.A.D. at 672. LDEQ’s conclusion that the catalytic ox-

idizer was not technically feasible is entitled to deference and should be affirmed.

D.    Sierra Club’s Arguments Regarding Louisiana’s Public Trustee Doc-
      trine Should Be Rejected by this Court

      LDEQ has taken the position that the provisions of the Louisiana Constitu-

tion and Environmental Quality Act relative to the public trust doctrine have not

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been incorporated into Louisiana’s federally approved SIP. LDEQ Brief at pp. 56-

60. Even if this Court considers the SIP to have incorporated the public trust doc-

trine, LDEQ fulfilled its public trustee duty. LDEQ’s reasoned and supported

permit decision is neither arbitrary nor contrary to law.

       Article IX, Section 1 of the Louisiana Constitution provides for a “public

trust for the protection, conservation and replenishment of all natural resources of

the state…insofar as possible and consistent with health, safety and welfare of the

people.” Save Ourselves, 452 So. 2d at 1154. Sierra Club contends that, in grant-

ing the Permit, LDEQ violated this public trustee doctrine. Sierra Club Brief, pp.

52-69. Sierra Club’s arguments regarding the public trustee doctrine should be re-

jected. LDEQ satisfied any public trustee duty that exists in this context by exten-

sively considering the so-called “IT Questions” articulated by the court in Save

Ourselves.

       In Save Ourselves, the Louisiana Supreme Court considered the public trust

doctrine in the context of the Louisiana Environmental Control Commission

(“ECC”).6 452 So. 2d at 1154-55. The court began its analysis by noting that Ar-

ticle IX “mandates the legislature to enact laws to implement” a policy of protec-


6
 The Environmental Affairs Act of 1979 created the ECC within the Department of Natural Re-
sources and charged it with the responsibility of reviewing each hazardous waste facility permit
application to determine whether the proposed project or facility complies with the constitutional
and legislative standards. Former La. R.S. 30:1062 and 1066. Later, the ECC was renamed the
Department of Environmental Quality. See Save Ourselves, 452 So.2d at 1155, n.5.



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tion of the environment. Id. at 1154. The court then noted that “[i]n implementa-

tion of the public trust mandate, the legislature enacted the Louisiana Environmen-

tal Affairs Act” (the “LEAA”), with a stated purpose to “maintain, protect and en-

hance a healthful and safe environment through regulation of water control, air

quality, solid and hazardous waste, scenic rivers and streams, and radiation.” Id. at

1154-55 (citing former La. R.S. 30:1051 et seq.). The court also noted that, as part

of the LEAA, the legislature established the ECC—now LDEQ—and authorized

that agency to carry out the LEAA’s purposes and provisions. Id. at 1155 (citing

former La. R.S. 30:1062).

      The Louisiana Constitution requires environmental protection “insofar as

possible and consistent with the health, safety, and welfare of the people.” La.

Const. art. IX § 1. According to the court,


      This is a rule of reasonableness which requires an agency or official,
      before granting approval of proposed action affecting the environ-
      ment, to determine that adverse environmental impacts have been
      minimized or avoided as much as possible consistently with the public
      welfare. Thus, the constitution does not establish environmental
      protection as an exclusive goal, but requires a balancing process
      in which environmental costs and benefits must be given full and
      careful consideration along with economic, social and other factors.

      ***

      The environmental protection framework vests in the commission a
      latitude of discretion to determine the substantive results in each
      particular case. Environmental amenities will often be in conflict
      with economic and social considerations. To consider the former
      along with the latter must involve a balancing process. In some in-

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      stances environmental costs may outweigh economic and social bene-
      fits and in other instances they may not. This leaves room for a re-
      sponsible exercise of discretion and may not require particular sub-
      stantive results in particular problematic instances.

Save Ourselves, 452 So. 2d at 1157 (emphasis added).


      The Save Ourselves court outlined the issues to be considered by the permit

applicant and LDEQ. Id. at 1157. Those issues have been dubbed the “IT Ques-

tions” and have been expressed by LDEQ and in case law as three consolidated

questions:


      Whether 1) the potential and real adverse environmental effects of the
      proposed project have been avoided to the maximum extent possible;
      2) a cost benefit analysis of the environmental impact costs balanced
      against the social and economic benefits of the project demonstrates
      that the latter outweighs the former; and 3) there are alternative pro-
      jects or alternative sites or mitigating measures which would offer
      more protection to the environment than the proposed project without
      unduly curtailing non-environmental benefits to the extent applicable.

AR71:1, n.1 (citing Matter of Rubicon Inc., 670 So. 2d 475, 483 (La. App. 1st Cir.

1996) (noting that Save Ourselves “required satisfaction of…three issues” and ex-

pressly amending prior precedent that has articulated five factors); see also Black-

ett v. La. Dep’t of Env’t Quality, 506 So.2d 749, 754 (La. App. 1st Cir.1987) (ar-

ticulating what it listed as five IT Questions); In the Matter of Am. Waste and Pol-

lution Control Co., 633 So.2d 188, 194 (La. App. 1st Cir.1993) (same).




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      To further implement the public trustee doctrine, the Legislature enacted La.

R.S. 30:2018 in 1997 and added the three IT Questions to La. R.S. 30:2018.B., as

issues to be addressed in an environmental assessment statement submitted by the

permit applicant as part of its permit application.


      Here, Commonwealth complied with La. R.S. 30:2018B in its permit appli-

cation. AR2:1 (recognizing the requirement to address the IT Questions in the ap-

plication); AR2:199-266 (submitting a detailed Environmental Assessment State-

ment expressly addressing each of the IT Questions in detail). A public hearing

was held on the environmental assessment statement in accordance with La. R.S.

30:2018.C. AR15:1; AR17.


      LDEQ expressly considered each of the IT Questions. In its Basis for Deci-

sion, LDEQ stated:


      LDEQ finds that as a part of the “IT Requirements,”' adverse envi-
      ronmental impacts have been minimized or avoided to the maximum
      extent possible…In making this determination, LDEQ finds that
      Commonwealth LNG has complied with all applicable federal and
      state statutes and regulations and has otherwise minimized or avoid-
      ed environmental impacts to the maximum extent possible. Addi-
      tionally, LDEQ finds that Commonwealth LNG has met the alterna-
      tive sites, alternative projects, and mitigating measures require-
      ments of Save Ourselves. After LDEQ determined that adverse envi-
      ronmental effects had been minimized or avoided to the maximum ex-
      tent possible, it balanced social and economic factors with environ-
      mental impacts…LDEQ finds that the social and economic benefits
      of the proposed projects will greatly outweigh their adverse envi-
      ronmental impacts.

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AR71:1.


      LDEQ then confirmed that the “details of the LDEQ’s reasoning are set

forth below” and provided 29 pages of reasoning to support LDEQ’s discretionary

analysis. LDEQ’s individualized and detailed consideration and analysis of the IT

Questions in connection with this permitting decision more than satisfied the fac-

tors outlined in Save Ourselves. LDEQ’s analysis, which formed the basis for its

ultimate permit decision, articulated a rational connection between the facts found

and its decision and is clearly discernible from the record.


      Contrary to Sierra Club’s argument, LDEQ did not blindly rely on “mini-

mum permitting requirements as a substitute for its public interest obligation.” Si-

erra Club Brief, p. 58. LDEQ considered and analyzed each IT Question. See,

e.g., AR71:5-14 (analyzing the “concepts of alternative sites, alternative projects,

and mitigation measures” in detail); AR71:15-20 (analyzing “the potential and real

adverse environmental impacts…to ensure they are minimized to the maximum ex-

tent possible”); and AR71:20-28 (performing a “cost/benefit analysis” that ad-

dresses the “social and economic benefits of the proposed facility”). Indeed,

LDEQ’s entire Basis for Decision is structured to answer the three IT Questions

identified on the first page of that decision. AR71:1-29.




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      Unless “the actual balance of costs and benefits that was struck was arbitrary

or clearly gave insufficient weight to environmental protection,” this Court should

not substitute its own judgment for that of LDEQ. Save Ourselves, 452 S. 2d at

1159; see also Joseph v. Sec’y of Nat. Res., 265 So. 3d 945, 955-56 (La. App. 5th

Cir. 2019) (upholding grant of permit where “[t]here is extensive support for

DNR’s compliance with its public trust duty in the record, including but not lim-

ited to its Basis of Decision…”); Gossen v. Welsh, 2016 LEXIS 213, at *18 (La.

App. 1st Cir. 2016) (affirming permit where “the record demonstrates that the

Commissioner reasonably determined that any adverse environmental impacts

were minimized or avoided”); Dow Chem. Co., 885 So.2d at 9 (“[C]onsiderable

weight is afforded to an administrative agency’s construction of a statutory scheme

that it is entrusted to administer.”); In re Shintech, Inc., 814 So.2d 20, 26 (La. App.

1st Cir. 2002), writ denied, 815 So.2d 845 (La. 2002) (“On review, an appellate

court should not reverse a substantive decision of [L]DEQ on the merits unless it

can be shown that the Secretary of [L]DEQ was arbitrary or clearly gave insuffi-

cient weight to environmental protection in balancing costs and benefits of the

proposed action.”).


      Sierra Club’s suggestion that LDEQ’s analysis was arbitrary is unsupported.

Essentially, Sierra Club is suggesting that the public trust doctrine somehow re-

quires LDEQ to devise and apply new and heightened standards of environmental


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regulation. The Save Ourselves decision did not go that far, and no Louisiana

court has interpreted the public trustee doctrine in such an extraordinarily expan-

sive matter. To the contrary, Louisiana courts have confirmed the more limited na-

ture of the doctrine’s requirements. See, e.g., Jurisich v. Jenkins, 749 So. 2d 597,

605 (La. 1999) (holding that the public trust doctrine of Article IX does not “prime

statutorily defined duties”); see also In re Dep’t of Env’t Quality Permitting Deci-

sion, 2011 WL 1225871 (La. App. 1st Cir. 2011) (holding that the public trust doc-

trine did not require LDEQ to employ certain requirements above and beyond ex-

isting regulatory requirements); Save Our Hills, 266 So. 3d at 932 (holding that the

public trust doctrine does not require the agency to balance the “economic impact

the project will or may have upon neighboring landowners.”).


      Sierra Club points to two areas where it maintains LDEQ failed to discharge

its public trust duty: (1) use of SILs for measuring risk of exposure to NO2, air tox-

ics and particulate matter; and (2) failure to require certain technical alternatives,

including a catalytic oxidizer, a combined-cycle power plant, and electric motor-

driven compressors. Each of these issues was “examined, deliberated about, pon-

dered over, and inspected,” and LDEQ’s decisions were reasonable. See St. Tam-

many Par. Gov’t v. Welsh, 199 So. 3d 3 (La. App. 1st Cir. 2016).




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      First, as detailed above, the use of SILs to determine that the facility will not

cause or contribute to violations of NAAQS in accordance with well-established

EPA guidance was well-reasoned and technically sound. LDEQ discussed NO2 in

detail, concluding that “dispersion modeling predicted Commonwealth LNG’s

maximum contribution to any modeled exceedance of the 1-hour NO2 NAAQS

would be 0.07 µg/m3, which is below the SIL of 7.5 µg/m3.” AR71:40. As noted

above, LDEQ also explained various aspects of the modeling, including the “im-

probable” nature of the modeled maximums, that gave LDEQ—based on their ex-

pertise—comfort with the use of the SILs and with the level of NO2 emissions. Id.


      With regard to air toxics, LDEQ concluded that the Commonwealth facility

“is not expected to have any appreciable impact on estimated Air Toxics Cancer

Risk values in the project area.” AR71:27-28. While LDEQ did recognize that the

Air Toxics Cancer Risk in Calcasieu Parish is in the 80-90th percentile nationally,

LDEQ noted that this risk arising from the emissions of ethylene oxide from other

sources in Calcasieu Parish and that Commonwealth’s facility is not permitted to

emit any ethylene oxide. AR71:27. Again, LDEQ applied its knowledge and ex-

pertise to assess the air toxics and reasonably concluded that Commonwealth’s fa-

cility would not impact risk values in the area. This Court should not disturb that

reasoned analysis.




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      Second, each of the three technical alternatives that Sierra Club complains

about was also analyzed in detail by Commonwealth and LDEQ and were dis-

missed as alternatives only after such analysis. As detailed above regarding the

combustion turbines and catalytic oxidizer, LDEQ considered these technologies

and concluded they were not BACT for various technical reasons. AR71:80-83,

100. The same is true for electric motor-drive compressors. LDEQ considered and

rejected this alternative because it would require Commonwealth to draw power

from the nearest power plant rather than producing its own electricity on site.

AR71:93. Because “existing local transmission lines do not have the capacity to

provide sufficient power to the project area,” Commonwealth would be required to

“construct a 29.3-mile transmission line to reach the nearest available electrical

substation.” AR71:93. Such a requirement comes with its own environmental

challenges including additional impact to wetlands. AR71:93. Plus, a transmis-

sion line of that nature would be susceptible to “damage caused by extreme weath-

er events” that could “shut down operations of the LNG facility for an extended

period.” AR71:93. LDEQ’s determination regarding these technologies was nei-

ther arbitrary nor capricious and there is no basis for this Court to find otherwise.


      As established in the record, LDEQ actively and affirmatively weighed and

considered the IT factors with reasoned explanation based on the application, ma-

terials in the record, and comments submitted by members of the public, including


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those made by members of Sierra Club.              Sierra Club’s arguments regarding

LDEQ’s public trustee doctrine should be rejected by this Court.


E.        If the Court Grants Any Form of Relief, It Should Remand Without
          Vacatur.

          Sierra Club’s claims lack merit, and this Court should not grant any relief.

But, if the Court finds merit in any claims, the relief sought—vacatur—is inappro-

priate.

          Under Allied-Signal, Inc. v. U.S. Nuclear Reg. Comm’n, the decision wheth-

er to vacate an agency order depends on [1] “the seriousness of the order’s defi-

ciencies” and [2] “the disruptive consequences of an interim change that may itself

be changed.” 988 F.2d 146, 150-51 (D.C. Cir. 1993) (internal quotation marks

omitted); see Cent. & S. W. Servs., Inc. v. U.S. E.P.A., 220 F.3d 683, 692 (5th Cir.

2000) (applying Allied-Signal test). Either Allied-Signal factor alone can justify

remand without vacatur, see North Carolina v. E.P.A., 550 F.3d 1176, 1177-78

(D.C. Cir. 2008) (per curiam), and here both factors counsel against vacatur.

          First, even if this Court finds aspects of the LDEQ’s analysis deficient, there

is “a serious possibility that [LDEQ] will be able to substantiate its decision on re-

mand.” Allied-Signal, 988 F.2d at 151. Most of Sierra Club’s claims assert that

LDEQ based its ultimate conclusions on insufficient analysis. Even if such claims

had merit, it would be eminently “plausible that [the agency could] redress its fail-



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ure… on remand while reaching the same result.” Black Oak Energy, LLC v.

FERC, 725 F.3d 230, 244 (D.C. Cir. 2013); accord Cent. & S.W., 220 F.3d at 692.

          Second, vacatur would have “disruptive consequences” for Commonwealth.

Allied-Signal, 988 F.3d at 150-51; Basinkeeper v. U.S. Army Corps of Eng’rs, 715

F. App’x 399, 401 (5th Cir. 2018) (Owen, J., concurring). Vacatur could disrupt a

critical, multi-billion-dollar infrastructure project—among other things, by poten-

tially delaying its construction timeline and in-service date. Thus, the proper rem-

edy, if any, would be remand without vacatur.



                                   CONCLUSION

          For the reasons stated, Commonwealth requests that this Court deny the Pe-

tition.




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                           Respectfully submitted,


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                        CERTIFICATE OF SERVICE

     The undersigned certifies that the foregoing document was served, via the

Court’s CM/ECF Document Filing System, upon all counsel of record on this 13th

day of November 2023.

                                   /s/ Beth Bivans Petronio
                                   Beth Bivans Petronio




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                       CERTIFICATE OF COMPLIANCE


I, Beth Petronio, hereby certify that:

1.    This brief complies with the type-volume limitation of FED. R. APP. P.
      32(a)(7)(B) because this brief contains 12,694 words, excluding the parts of
      the brief exempted by FED. R. APP. P. 32(f) and 5th Cir. R. 32.2.

2.    This brief complies with the typeface and type-style requirements of FED. R.
      APP. P. 32(a)(5)-(6), and 5th Cir. R. 32.1 because this brief has been pre-
      pared in a proportionally spaced typeface using MS Word 2016 Times New
      Roman, Font Size 14.

3.    The undersigned understands that a material misrepresentation in the certifi-
      cate of compliance may result in striking the brief and in sanctions against
      the person signing the brief.

      DATED: November 13, 2023.


                                         /s/ Beth Bivans Petronio
                                         Beth Bivans Petronio




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                            ECF CERTIFICATION

       I, Beth Petronio, certify that: (1) no privacy redactions were required under
5th Cir. R. 25.2.13; (2) the electronic submission is an exact copy of the paper
document that I retained; and (3) this document has been scanned for viruses with
the most recent version of a commercial virus scanning program and is free of vi-
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                                      /s/ Beth Bivans Petronio
                                      Beth Bivans Petronio




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